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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UMG RECORDINGS, INC. et al.,

          Plaintiffs,

  v.                                                   Case No. 8:19-cv-00710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC,

          Defendant.


        DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
        CERTIFICATION OF INTERLOCUTORY APPEAL PURSUANT TO 28 U.S.C.
        § 1292(b) OF THE COURT’S ORDER DISMISSING PLAINTIFFS’ CLAIM FOR
                               VICARIOUS LIABILITY

          The Court should deny Plaintiffs’ motion to certify an interlocutory appeal, which is

  premised on a misreading of the Court’s opinion and rank speculation about the direction of this

  case. The purportedly “controlling” question that Plaintiffs identify is not dispositive of this

  litigation, nor was it even necessary to the Court’s dismissal of Plaintiffs’ vicarious infringement

  claim. And certification of an interlocutory appeal will only slow down and disrupt this case’s

  progress. Plaintiffs do not present the “extraordinary circumstances” required to justify piecemeal

  litigation.

   I.      BACKGROUND

          Plaintiffs’ First Amended Complaint pleads contributory and vicarious copyright

  infringement counts against Bright House. Dkt. 94. Both claims are premised on allegations that

  individuals using Bright House’s internet access services directly infringed Plaintiffs’ copyrights

  by engaging in internet piracy. On July 8, 2020, the Court granted Bright House’s motion to

  dismiss Plaintiffs’ vicarious infringement claim. See Order, Dkt. 142. The Court did so for two

  independent reasons. The Court ruled that “Plaintiffs have failed to allege that Bright House

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  receives a direct financial benefit from its users’ infringement because there are no well-pled

  allegations that (i) the availability of infringing content (ii) provides the main customer ‘draw’ to

  the service.” Id. at 10. The Court explained that Bright House failed to meet the first prong of the

  direct financial benefit test—the “availability of infringing content”—because Plaintiffs alleged

  neither “that there is anything unique about the service Bright House offers as a portal to the

  internet or as a portal to this alleged contraband content,” nor “that there is any infringing content

  ‘available’ on the Bright House platform, such as a storage vehicle (i.e., Cloud storage) from which

  a would-be infringer could seek to secure infringing content directly or indirectly from Bright

  House.” Id. at 10-11. The Court alternatively held that the vicarious liability claim was deficient

  because Plaintiffs failed to plead that infringement was the “main” customer draw to Bright

  House’s service. The Court explained that Plaintiffs’ “expansive interpretation of the draw theory

  effectively eliminates the requirement that the defendant receive a direct financial benefit from

  drawing the infringer to available infringing content.” Id. at 13.

         Because Bright House moved to dismiss the vicarious liability claim only, and not the

  contributory liability claim, litigation in this case has proceeded, with the parties engaging in

  extensive discovery efforts. The written discovery deadline is November 11, 2020; expert reports

  must be disclosed in February and March 2021; and fact discovery closes on April 30, 2021. See

  Scheduling Order, Dkt. 144.

         On August 6, 2020—three months before the written discovery deadline—Plaintiffs filed

  their motion seeking certification of the Court’s order for interlocutory appeal under 28 U.S.C.

  § 1292(b). See Motion, Dkt. 155. The motion seeks certification of what Plaintiffs maintain is a

  single question of law: “Whether a plaintiff asserting a claim for vicarious liability for copyright




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  infringement must plead and prove that the availability of infringing material was the ‘primary’

  draw of infringers to the defendant’s service.” Id. at 1.

  II.    ARGUMENT

         “Interlocutory appeal under § 1292(b) serves as a ‘rare exception’ to the general rule that

  final judgment must precede appellate review.” Havana Docks Corp. v. Norwegian Cruise Line

  Holdings, Ltd., 2020 WL 3433147, at *1 (S.D. Fla. June 23, 2020) (quoting McFarlin v. Conseco

  Servs., LLC, 381 F.3d 1251, 1264 (11th Cir. 2004)). “Because permitting piecemeal appeals is

  bad policy, permitting liberal use of § 1292(b) interlocutory appeals is bad policy.” McFarlin, 381

  F.3d at 1259. Certification is proper only in “exceptional cases” where an interlocutory appeal

  will “avoid protracted and expensive litigation” and where “a question which would be dispositive

  of the litigation is raised and there is serious doubt as to how it should be decided.” U.S. ex rel.

  Armfield v. Gills, 2011 WL 2084072, at *1-2 (M.D. Fla. May 24, 2011) (quoting McFarlin, 381

  F.3d at 1256). To obtain certification for an interlocutory appeal under § 1292(b), Plaintiffs must

  demonstrate that (1) the Court’s order presents a controlling question of law; (2) over which there

  is a substantial ground for difference of opinion among courts; and (3) that immediate resolution

  of the issue would materially advance the ultimate termination of the litigation. Id.

         A.      Plaintiffs Do Not Identify a Controlling Question of Law

         Plaintiffs identify a single purportedly “controlling question of law”: “Whether a plaintiff

  asserting a claim for vicarious liability for copyright infringement must plead and prove that the

  availability of infringing material was the ‘primary’ draw of infringers to the defendant’s service.”

  Mot. at 1. This question, however, is not “controlling” for two reasons. First, for a question to be

  controlling such that the Court may certify an interlocutory appeal, it must be “dispositive of the

  litigation.” See, e.g., Havana Docks, 2020 WL 3433147, at *1 (holding the certification is only




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  proper “in exceptional cases where decision of the appeal may avoid protracted and expensive

  litigation … where a question which would be dispositive of the litigation is raised and there is

  serious doubt as to how it should be decided.”) (emphasis added); Flint Riverkeeper, Inc. v. S.

  Mills, Inc., 261 F. Supp. 3d 1345, 1347 (M.D. Ga. 2017) (same); Armfield, 2011 WL 2084072, at

  *1 (same); see also Rogers v. Barrett, 2020 WL 3980029, at *5 (E.D. Va. July 14, 2020) (“To be

  ‘controlling,’ … resolution of the question must be completely dispositive of the litigation, either

  as a legal or practical matter, whichever way it goes.”) (quotations omitted). In this case, resolution

  of whether Plaintiffs must plead that availability of infringing material was the primary draw to

  Bright House’s service is in no sense “dispositive of the litigation.” An answer to that question

  would not resolve Plaintiffs’ contributory infringement claim or Bright House’s counterclaims,

  and so this litigation will continue apace regardless of any ruling from the Eleventh Circuit on

  interlocutory appeal.

         Moreover, the question presented by Plaintiffs is not “controlling” because the Court

  provided an independent and alternative ground to reject the vicarious infringement claim—

  specifically, that Bright House was not responsible for the “availability of infringing content.” See

  Order at 10-11. In its order, the Court explained that there are two prongs to the “direct financial

  benefit” element of vicarious infringement: (i) the availability of infringing content must (ii)

  provide the main customer draw to the service. Order at 10. The Court specifically held that

  Plaintiffs failed to allege that “there is any infringing content ‘available’ on the Bright House

  platform,” and that the “available infringing content is found on the robust peer-to-peer sharing

  platforms ubiquitous to the internet … which are, as discussed, in no way affiliated with or

  controlled by Bright House[.]” Id. at 10-11. After so holding, the Court moved on to the

  alternative ground for its holding, explaining that “even if the Court were to indulge the notion




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  that access to infringing content generally available on the internet is sufficient to satisfy the first

  prong of the ‘draw test,’ Plaintiffs fail to plead secondly that such access to infringing content is

  the main draw to Bright House’s service.” Id. at 11.

          The question presented by Plaintiffs is thus not “controlling” because it did not actually

  affect the outcome of the Court’s order. The Court’s ruling on the “availability” prong of the

  “draw” test commanded dismissal of the vicarious liability theory irrespective of the Court’s view

  of the strength of the “draw” necessary to state a claim. Courts within and without the Eleventh

  Circuit have repeatedly held that it is inappropriate to certify an interlocutory appeal where there

  is a justification for the court’s ruling that is alternative to and independent of the issue identified

  for certification. See, e.g., Drummond Co. v. Collingsworth, 2017 WL 4783549, at *3 (N.D. Ala.

  Sept. 14, 2017) (“Because van Bilderbeek has not challenged the court’s alternative jurisdictional

  findings, certification of his first proposed issue will not materially advance the termination of this

  litigation.”); In re Blue Cross Blue Shield Antitrust Litig., 2017 WL 588445, at *4 (N.D. Ala. Feb.

  14, 2017) (“Because the court has found three independent grounds for personal jurisdiction over

  Moving Defendants, they must present a basis for successfully contesting each ground of

  jurisdiction in order to prevail on their proposed interlocutory appeal.”); In re Tate, 2010 WL

  320488, at *6 (S.D. Ala. Jan. 19, 2010) (denying certification where interlocutory appeal of

  identified issue “would not alter the outcome of the motion to dismiss, or materially advance the

  termination of these proceedings, because the [issue identified] was not the sole basis for the

  Bankruptcy Court’s ruling.”); Illinois Union Ins. Co. v. Intuitive Surgical, Inc., 2016 WL 5905935,

  at *3 (N.D. Cal. Oct. 11, 2016) (“[T]he question is not ‘controlling’ … because the Court's order

  denying Illinois Union’s motion for summary judgment did so based on [an] additional, alternative

  ground[.]”); In re Skelaxin (Metaxalone) Antitrust Litig., 2013 WL 4821337, at *3 & n.4 (E.D.




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  Tenn. Sept. 10, 2013) (“[A]lthough considerable grounds for disagreement exist over the

  continuing violations doctrine, it is not a controlling issue because the alternative grounds of

  fraudulent concealment saves Plaintiffs’ claims regardless of appellate disposition.”); Shukh v.

  Seagate Tech., LLC, 2011 WL 4947608, at *3 (D. Minn. Oct. 18, 2011) (“[I]f there is an alternative

  basis for an order, the basis challenged on appeal is not ‘controlling.’”). Because the question

  identified by Plaintiffs determines the outcome of neither the entire litigation nor even the

  vicarious liability claim, it is not “controlling” for purposes of § 1292(b).

         B.      Interlocutory Appeal Will Not Materially Advance the Ultimate Termination
                 of the Litigation

         Plaintiffs must demonstrate that interlocutory appeal will “materially advance the ultimate

  termination of the litigation,” meaning that “resolution of a controlling legal question would serve

  to avoid a trial or otherwise substantially shorten the litigation.” McFarlin, 381 F.3d at 1259.

  Plaintiffs argue only that early appellate resolution of the appropriate “draw” standard may stave

  off a second trial that could hypothetically occur if the Eleventh Circuit reverses the Court’s order

  after this case becomes final. Mot. at 8-9. But the possibility of a second trial cannot justify the

  extraordinary remedy of interlocutory appeal, or else every partial dismissal of a plaintiffs’

  complaint would be immediately appealable. The possibility of a second trial thus “cannot be

  sufficient to justify certification, as certification is appropriate only in extraordinary cases.”

  Shimota v. Wegner, 2016 WL 5109138, at *3 (D. Minn. Sept. 19, 2016) (quotations omitted); see

  also Armfield, 2011 WL 2084072, at *3 (holding that “[a]n interlocutory appeal would neither

  serve to avoid a trial nor otherwise substantially shorten the litigation,” notwithstanding the

  possibility that “reversal of the summary judgment order would require a second trial.”).

  Moreover, Plaintiffs’ hypothetical second trial is purely speculative. A second trial would occur

  only in the scenario where (1) Plaintiffs did not prevail on their contributory infringement claim



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  (as Plaintiffs could not double-recover for vicarious and contributory infringement of the same

  works); (2) the contributory infringement claim failed on grounds that would not also defeat a

  vicarious infringement claim;1 (3) the Eleventh Circuit reversed the Court’s order on vicarious

  liability on appeal; and (4) Plaintiffs adduce enough evidence on remand to survive summary

  judgment on each element of their vicarious liability claim.

         By contrast, certification of an interlocutory appeal will either unnecessarily create a

  piecemeal appeal, or disrupt this case and substantially delay trial. The supposed benefit to which

  plaintiffs point – avoiding the risk of a second trial -- would accrue only if they seek and are

  granted a stay of proceedings in this Court, in which case there would be significant delay while

  the appeal is briefed, argued, and decided. The parties would be looking at a potentially years-

  long delay of the current trial schedule to accommodate the remote chance that the vicarious

  infringement claim will be reintroduced into the case. The prospect of that needless delay,

  especially given the strong likelihood that the Eleventh Circuit will affirm this Court’s well-

  reasoned order, weighs heavily against allowing an interlocutory appeal. See, e.g., Gipson v.

  Mattox, 511 F. Supp. 2d 1182, 1193 (S.D. Ala. 2007) (“As it appears that a trial will be necessary

  on the declaratory judgment claims irrespective of the outcome of Mattox’s appeal of the sole

  inventorship question, allowing an interlocutory appeal here would do nothing more than delay




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     For example, if Plaintiffs’ contributory infringement claim failed due to a lack of evidence of
  direct infringement by Bright House’s customers, or because Plaintiffs could not establish
  ownership of the works in suit, or because Bright House was protected by the DMCA safe harbor,
  then there would be no trial on vicarious infringement even if the Court’s order was erroneous—
  the error would be harmless, as each of the foregoing defenses would also defeat a vicarious
  infringement claim.

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  the trial and invite piecemeal appeals.”). And if plaintiffs do not seek or are not granted a stay,

  there is not even any theoretical efficiency gain.2 Either way, certification is inappropriate.

          Moreover, in this high-stakes litigation, it is a virtual certainty that either one or both of the

  parties will appeal after a trial—meaning that certification of an interlocutory appeal may not even

  obviate the need for a second trial, should the Eleventh Circuit find other reversible error. See

  S.E.C. v. Lucent Techs., Inc., 2009 WL 4508583, at *10 (D.N.J. Nov. 16, 2009) (declining to certify

  interlocutory appeal in a complex case because “[t]he Court knows this however: whoever loses

  at trial will appeal. There will be an appeal.”). Put differently: an interlocutory appeal introduces

  the possibility that the trial in this case will be delayed for years (and virtually assures at least a

  months-long delay), but by no means eliminates the possibility of a second trial.

          Ultimately, the Court’s order streamlined this litigation by limiting “the scope of

  [Plaintiffs’] case to one of” two proffered theories, and given “the complexity of issues and volume

  of discovery on each discrete portion, the Order likely shortened the litigation.” United States v.

  Lee Mem’l Health Sys., 2019 WL 4024832, at *2 (M.D. Fla. Aug. 27, 2019) (denying certification

  because even if plaintiff “succeeded on appeal, the litigation would be extended”). Plaintiffs seek

  to force a piecemeal appeal and thereby “expand the case, increasing the amount of litigation,” id.,

  on the remote possibility that all the chips fall such that a possible second trial is averted. An

  interlocutory appeal, at best, provides a speculative, hypothetical, and unlikely efficiency—but it

  virtually guarantees a delay in the initial adjudication of this case. Plaintiffs have not met their

  burden to establish that an interlocutory appeal would materially advance the termination of this

  litigation.




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     Plaintiffs have informed Defendants that they do not intend to seek a stay in connection with
  this motion. See Schapiro Dec. ¶ 2 (Ex. 1).

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  III.   CONCLUSION

         For the foregoing reasons, the Court should deny Plaintiffs’ motion to certify the order

  granting Bright House’s partial motion to dismiss for interlocutory appeal under 28 U.S.C.

  § 1292(b).

  Dated: August 20, 2020                             Respectfully submitted,


                                                    /s/ Andrew Schapiro
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Response in Opposition

  to Plaintiffs’ Motion for Certification of Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b) of

  the Court’s Order Dismissing Plaintiffs’ Claim for Vicarious Liability was served by the Court’s

  CM/ECF system on August 20, 2020.



                                                              /s/ Andrew Schapiro
                                                              Andrew Schapiro




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